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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA,
                            ATLANTA DIVISION

 CHRISTOPHER TAYLOR,                         )   Civil Action No.
                                             )
                                             )
                  Plaintiff,                 )
                                             )   COMPLAINT FOR
                                             )   VIOLATIONS OF THE
                  vs.                        )   FEDERAL SECURITIES
                                             )   LAWS
 FERRO CORPORATION, DAVID A.                 )
                                             )   JURY TRIAL DEMANDED
 LORBER, MARRAN H. OGILVIE,                  )
 ANDREW M. ROSS, ALLEN A.                    )
 SPIZZO, PETER T. THOMAS, and                )
                                             )
 RONALD P. VARGO,                            )
                                             )
                        Defendants.          )
                                             )
                                             )



      Plaintiff Christopher Taylor (“Plaintiff”), by and through his undersigned

counsel, for his complaint against defendants, alleges upon personal knowledge with

respect to himself, and upon information and belief based upon, inter alia, the

investigation of counsel as to all other allegations herein, as follows:

                  NATURE AND SUMMARY OF THE ACTION

      1.       Plaintiff brings this action against Ferro Corporation (“Ferro” or the

“Company”) and the members of its Board of Directors (the “Board” or the

“Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a)
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and U.S. Securities and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R.

§ 240.14a-9, arising out of their attempt to sell the Company to PMHC II Inc.

(“Prince”) through PMHC Fortune Merger Sub, Inc. (the “Proposed Transaction”).

      2.       On May 11, 2021, Ferro and Prince entered into an Agreement and Plan

of Merger (the “Merger Agreement”) pursuant to which Ferro stockholders will

receive $22.00 in cash for each share of Ferro common stock they own.

      3.       On July 23, 2021, Ferro filed a Schedule 14A Definitive Proxy

Statement (the “Proxy”) with the SEC. The Proxy is materially deficient and

misleading because, inter alia, it fails to disclose material information regarding: (i)

Ferro management’s financial projections and the financial analyses performed by

the Company’s financial advisor, Lazard Frères & Co. LLC (“Lazard”); and (ii)

Lazard’s potential conflicts of interest. Without additional information, the Proxy

is materially misleading in violation of the federal securities laws.

      4.       The stockholder vote to approve the Proposed Transaction is

forthcoming. Under the Merger Agreement, following a successful stockholder

vote, the Proposed Transaction will be consummated. For these reasons and as set

forth in detail herein, Plaintiff seeks to enjoin defendants from conducting the

stockholder vote on the Proposed Transaction unless and until the material

information discussed below is disclosed to the holders of the Company common

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stock, or, in the event the Proposed Transaction is consummated, to recover

damages resulting from the defendants’ violations of the Exchange Act.

                           JURISDICTION AND VENUE

      5.       This Court has jurisdiction over the claims asserted herein for violations

of Sections 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated

thereunder pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28

U.S.C. § 1331 (federal question jurisdiction).

      6.       This Court has jurisdiction over the defendants because each defendant

is either a corporation that conducts business in and maintains operations within this

District, or is an individual with sufficient minimum contacts with this District so

as to make the exercise of jurisdiction by this Court permissible under traditional

notions of fair play and substantial justice.

      7.       Venue is proper in this District under Section 27 of the Exchange Act,

15 U.S.C. § 78aa, as well as under 28 U.S.C. § 1391 because defendants have

received substantial compensation in this District by doing business here and

engaging in numerous activities that had an effect in this District. Defendant Ferro

maintains and operates a principal manufacturing plant in this District, rendering

venue in this District appropriate.



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                                   THE PARTIES

      8.       Plaintiff is, and has been at all times relevant hereto, a continuous

stockholder of Ferro.

      9.       Defendant Ferro is an Ohio corporation, with its principal executive

offices located at 6060 Parkland Boulevard, Suite 250, Mayfield Heights, Ohio

44124 and a manufacturing plant located at 6369 Peachtree St, Peachtree Corners,

Georgia 30071. Ferro’s common stock trades on the New York Stock Exchange

under the ticker symbol “FOE.”

      10.      Defendant David A. Lorber is Lead Director and has served as a

director of the Company since 2013.

      11.      Defendant Marran H. Ogilvie has served as a director of the Company

since 2017.

      12.      Defendant Andrew M. Ross has served as a director of the Company

since 2016.

      13.      Defendant Allen A. Spizzo has served as a director of the Company

since 2016.

      14.      Defendant Peter T. Thomas has served as Chairman of the Board since

April 2014 and as the Company’s President, Chief Executive Officer (“CEO”) and

a director since April 2013.

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      15.     Defendant Ronald P. Vargo has served as a director of the Company

since 2009.

      16.     Defendants identified in paragraphs 10-15 are referred to herein as the

“Board” or the “Individual Defendants.”

      17.     Relevant non-party Prince is a Delaware corporation with principal

executive offices located at 15311 Vantage Parkway West, Suite 350, Houston,

Texas 77032.      Prince specializes in developing, manufacturing and marketing

performance-critical specialty products, many custom developed, for niche

applications in the construction, electronics, consumer products, agriculture,

automotive, oil & gas, industrial and other end markets.

                         SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

      18.     Ferro is a leading producer of specialty materials that are sold to a broad

range of manufacturers who, in turn, make products for many end-use markets.

Ferro’s products fall into two general categories: functional coatings, which perform

specific functions in the end products and manufacturing processes of its customers;

and color solutions, which provide performance and aesthetic characteristics to its

customers’ products. The Company’s products include frits, porcelain and other

glass enamels, glazes, stains, decorating colors, pigments, inks, polishing materials,

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dielectrics, electronic glasses, and other specialty coatings.

      19.    On August 4, 2021, the Company announced its second quarter 2021

financial results. Net sales increased 43.7% to $294.3 million, or 37.3% on a

constant currency basis, compared to the same period in 2020. Gross profit increased

48.8% to $94.8 million, and gross profit margin improved 110 bps to 32.2%, as

compared to the second quarter of 2020. GAAP diluted earnings per share were

$0.20, improved from a loss of $0.03 during the same period in the prior year.

Income from continuing operations was $17.4 million, compared to a loss of $1.9

million in the year-ago quarter. Adjusted EBITDA increased 90.1% from the prior

year period, reaching $58.7 million in the second quarter of 2021.

      20.    On May 11, 2021, Ferro issued a press release announcing the Proposed

Transaction, which states, in relevant part:

      CLEVELAND--Ferro Corporation (NYSE: FOE) (the Company), a
      leading global supplier of technology-based functional coatings and
      color solutions, today announced it has entered into a definitive
      agreement to be acquired by Prince International Corporation, a
      portfolio company of American Securities LLC, in an all-cash
      transaction valued at approximately $2.1 billion, or 12.4 times TTM
      Adjusted EBITDA as of March 31, 2021, including the assumption of
      debt, net of cash. Under the terms of the agreement, which has been
      unanimously approved by the Ferro Corporation Board of Directors,
      Prince will acquire all of the outstanding common stock of Ferro for
      $22.00 per share in cash. The purchase price represents a 25.1%
      premium to the closing stock price on May 10, 2021 of $17.58 per share
      and a 33.8% premium to the 90-day volume-weighted average price.

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The Proxy Contains Material Misstatements or Omissions

      21.    On July 23, 2021, Ferro filed the materially misleading and incomplete

Proxy with the SEC. Designed to convince Ferro’s stockholders to vote in favor of

the Proposed Transaction, the Proxy is rendered misleading by the omission of

critical information concerning: (i) Ferro management’s financial projections and

the financial analyses performed by the Company’s financial advisor, Lazard; and

(ii) Lazard’s potential conflicts of interest.

Material Omissions Concerning Ferro Management’s Financial Projections and
Lazard’s Financial Analyses

      22.    The     Proxy    omits      material   information   regarding   Company

management’s financial projections.

      23.    For example, the Proxy fails to disclose each of the line items

underlying the Company’s Adjusted EBITDA and unlevered, after-tax free cash

flows, including net operating profit after tax, depreciation and amortization, change

in net working capital, and cash outlays for pension, restructuring and other expenses

not reflected in net operating profit.

      24.    The Proxy also omits material information regarding Lazard’s financial

analyses.

      25.    The Proxy describes Lazard’s fairness opinion and the various

valuation analyses performed in support of its opinion. However, the description of
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Lazard’s fairness opinion and analyses fails to include key inputs and assumptions

underlying these analyses. Without this information, as described below, Ferro’s

public stockholders are unable to fully understand these analyses and, thus, are

unable to determine what weight, if any, to place on Lazard’s fairness opinion in

determining whether to vote in favor of the Proposed Transaction or seek appraisal.

      26.    With respect to Lazard’s Precedent Transactions Valuation analysis,

the Proxy fails to disclose: (i) the individual multiples and financial metrics for each

of the transactions observed by Lazard; and (ii) the Company’s estimated net debt

position and estimated noncontrolling interest as of March 31, 2021.

      27.    With respect to Lazard’s Public Trading Comparables Valuation

analysis, the Proxy fails to disclose: (i) the individual multiples and financial metrics

for each of the companies observed by Lazard; and (ii) the Company’s estimated net

debt position and estimated noncontrolling interest as of March 31, 2021.

      28.    With respect to Lazard’s Discounted Cash Flow Analysis, the Proxy

fails to disclose: (i) the unlevered, after-tax free cash flows that Ferro was forecasted

to generate in the nine months ended December 31, 2021 and between fiscal years

2022 and 2025; (ii) the normalized estimated 2025 unlevered, after-tax free cash

flows (excluding the impact of cost savings from restructuring programs,

optimization initiatives, pension, restructuring and other cash charges) utilized to

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derive the terminal values for Ferro; (iii) the estimated 2025 unlevered, after-tax free

cash flow generated by cost savings from restructuring programs and optimization

initiatives less pension, restructuring and other cash charges, utilized to derive the

terminal values for Ferro; (iv) the Company’s terminal values; (v) the Company’s

estimated net debt position and estimated noncontrolling interest as of March 31,

2021; (vi) Ferro’s share count data as of April 30, 2021; and (vii) the individual

inputs and assumptions underlying the discount rates ranging from 9.0% to 10.0%.

      29.    With respect to Lazard’s Present Value of Future Share Price analysis,

the Proxy fails to disclose: (i) the Company’s projected net debt and noncontrolling

interest; (ii) Ferro’s estimated forward EBITDA from fiscal year 2021 to fiscal year

2024; and (iii) the individual inputs and assumptions underlying the discount rate of

10.8%.

      30.    The omission of this material information renders certain portions of

the Proxy materially misleading, including, inter alia, the following sections of the

Proxy: “Financial Projections” and “Opinion of Lazard Frères & Co. LLC.”

Material Omissions Concerning Lazard’s Potential Conflicts of Interest

      31.    The Proxy also fails to disclose the potential conflicts of interest faced

by the Company’s financial advisor, Lazard.

      32.    For example, the Proxy fails to disclose the compensation Lazard has

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received, or expects to receive, in connection with services provided to Ferro and

affiliates of Prince during the past two years.

      33.     Full disclosure of investment banker compensation and all potential

conflicts is required due to the central role played by investment banks in the

evaluation, exploration, selection, and implementation of strategic alternatives.

      34.     The omission of this material information renders certain portions of

the Proxy materially misleading, including, inter alia, the following section of the

Proxy: “Opinion of Lazard Frères & Co. LLC.”

      35.     Accordingly, Plaintiff seeks injunctive and other equitable relief to

prevent the irreparable injury that Company stockholders will continue to suffer

absent judicial intervention.

                                CLAIMS FOR RELIEF

                                        COUNT I

            Against All Defendants for Violations of Section 14(a) of the
             Exchange Act and Rule 14a-9 Promulgated Thereunder
      36.     Plaintiff repeats all previous allegations as if set forth in full.

      37.     During the relevant period, defendants disseminated the false and

misleading Proxy specified above, which failed to disclose material facts necessary

to make the statements, in light of the circumstances under which they were made,

not misleading in violation of Section 14(a) of the Exchange Act and SEC Rule 14a-
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9 promulgated thereunder.

      38.    By virtue of their positions within the Company, the defendants were

aware of this information and of their duty to disclose this information in the Proxy.

The Proxy was prepared, reviewed, and/or disseminated by the defendants. It

misrepresented and/or omitted material facts, including material information about

Ferro management’s financial projections, Lazard’s financial analyses, and Lazard’s

potential conflicts of interest. The defendants were at least negligent in filing the

Proxy with these materially false and misleading statements.

      39.    The omissions and false and misleading statements in the Proxy are

material in that a reasonable stockholder would consider them important in deciding

how to vote on the Proposed Transaction.

      40.    By reason of the foregoing, the defendants have violated Section 14(a)

of the Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

      41.    Because of the false and misleading statements in the Proxy, Plaintiff

is threatened with irreparable harm, rendering money damages inadequate.

Therefore, injunctive relief is appropriate to ensure defendants’ misconduct is

corrected.




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                                      COUNT II
    Against the Individual Defendants for Violations of Section 20(a) of the
                                Exchange Act

      42.    Plaintiff repeats all previous allegations as if set forth in full.

      43.    The Individual Defendants acted as controlling persons of Ferro within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of

their positions as officers and/or directors of Ferro, and participation in and/or

awareness of the Company’s operations and/or intimate knowledge of the false

statements contained in the Proxy filed with the SEC, they had the power to influence

and control and did influence and control, directly or indirectly, the decision-making

of the Company, including the content and dissemination of the various statements

which Plaintiff contends are false and misleading.

      44.    Each of the Individual Defendants was provided with or had unlimited

access to copies of the Proxy and other statements alleged by Plaintiff to be

misleading prior to and/or shortly after these statements were issued and had the

ability to prevent the issuance of the statements or cause the statements to be

corrected.

      45.    In particular, each of the Individual Defendants had direct and

supervisory involvement in the day-to-day operations of the Company, and,

therefore, is presumed to have had the power to control or influence the particular
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transactions giving rise to the securities violations as alleged herein, and exercised

the same. The Proxy at issue contains the unanimous recommendation of each of

the Individual Defendants to approve the Proposed Transaction. They were, thus,

directly involved in the making of the Proxy.

      46.    In addition, as the Proxy sets forth at length, and as described herein,

the Individual Defendants were each involved in negotiating, reviewing, and

approving the Proposed Transaction. The Proxy purports to describe the various

issues and information that they reviewed and considered—descriptions the

Company directors had input into.

      47.    By virtue of the foregoing, the Individual Defendants have violated

Section 20(a) of the Exchange Act.

      48.    As set forth above, the Individual Defendants had the ability to exercise

control over and did control a person or persons who have each violated Section

14(a) and SEC Rule 14a-9, promulgated thereunder, by their acts and omissions as

alleged herein. By virtue of their positions as controlling persons, these defendants

are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of defendants’ conduct, Ferro’s stockholders will be irreparably harmed.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands judgment and preliminary and permanent

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relief, including injunctive relief, in his favor on behalf of Ferro, and against

defendants, as follows:

      A.    Preliminarily and permanently enjoining defendants and all persons

            acting in concert with them from proceeding with, consummating, or

            closing the Proposed Transaction and any vote on the Proposed

            Transaction;

      B.    In the event defendants consummate the Proposed Transaction,

            rescinding it and setting it aside or awarding rescissory damages to

            Plaintiff;

      C.    Directing the Individual Defendants to disseminate a Proxy that does

            not contain any untrue statements of material fact and that states all

            material facts required in it or necessary to make the statements

            contained therein not misleading;

      D.    Declaring that defendants violated Sections 14(a) and/or 20(a) of the

            Exchange Act, as well as SEC Rule 14a-9 promulgated thereunder;

      E.    Awarding Plaintiff the costs of this action, including reasonable

            allowance for Plaintiff’s attorneys’ and experts’ fees; and

      F.    Granting such other and further relief as this Court may deem just and

            proper.

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                                JURY DEMAND

     Plaintiff demands a trial by jury.



Dated: August 30, 2021                       WEISSLAW LLP

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